          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                     CRIMINAL CASE NO. 1:08cr128-9



UNITED STATES OF AMERICA                  )
                                          )
                                          )
                  vs.                     )            ORDER
                                          )
                                          )
ERIKA PATRICE PARDUE.                     )
                                          )

      THIS MATTER is before the Court on the Defendant’s pro se motion

to receive sentencing credit for time served in pretrial detention. [Doc. 402].

      In her motion, the Defendant requests that the Court order credit for

time served in jail awaiting to be sentenced. The Supreme Court has held,

however, that only the Attorney General, through the Bureau of Prisons,

may compute jail credit. See United States v. Stubbs, No. 97-4948, 1998

WL 387253, at *1 (4th Cir. June 24, 1998) (per curiam) (citing United

States v. Wilson, 503 U.S. 329, 112 S.Ct. 1351, 117 L.Ed.2d 593 (1992)).

      Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

pro se motion to receive sentencing credit for time served in pretrial

detention [Doc. 402] is DENIED.




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  IT IS SO ORDERED.




                                     Signed: May 10, 2010




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